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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                              *

       Plaintiff,                            *

v.                                           *              Case No.: SAG-21-532

M&T BANK,                                    *

       Defendant.                            *
*      *     *        *       *         *    *       *      *       *       *      *       *
                MEMORANDUM OF LAW IN SUPPORT OF
   DEFENDANT M&T BANK’S CROSS MOTION FOR SUMMARY JUDGMENT
AND IN OPPOSITION TO PLAINTFF’S MOTION FOR SUMMARY JUDGMENT AND

       Defendant M&T Bank (“M&T”), through its undersigned counsel, respectfully submits

this Memorandum of Law in support of its Cross Motion for Summary Judgment and in

opposition to Plaintiff’s Motion for Summary Judgment (“M&T’s Cross Motion”). As explained

below, there is no dispute as to any material fact, and M&T is entitled to judgment as a matter of

law on all claims asserted in Plaintiff’s First Amended Complaint (“Amended Complaint”).

                                   I.       INTRODUCTION

       Despite Plaintiff filing this case only five months ago, the docket reflects a tortured

history. Plaintiff filed the initial Complaint on March 2, 2021, accusing M&T of violating five

different federal statutes with respect to a credit card he received eight months earlier in August

2020. M&T moved to dismiss the Complaint pursuant to Rule 12(b)(6), and in response, Plaintiff

voluntarily dismissed three of the claims. This Court found that the other two claims, alleging

violations of the Fair Credit Reporting Act (“FCRA”) and the Truth in Lending Act (“TILA”),

met the “relatively low threshold of ‘plausibility’ required at the motion to dismiss stage” and

allowed those claims to proceed. Carrasco v. M&T Bank, 2021 WL 1634711, at *4 (D. Md. Apr.

27, 2021).
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        On June 11, 2021, Plaintiff amended the Complaint to include some new allegations but

the claims and the theories of liability underlying the claims remained the same. That is, Plaintiff

alleges that M&T willfully violated the FCRA, specifically, 15 U.S.C. § 1681s-2(b), “by failing

to report the fact that plaintiff was disputing the underlying credit terms with the Defendant.”

ECF No. 62, ¶ 35. Plaintiff also contends that M&T did not “clearly and conspicuously set forth

‘any minimum or fixed amount which could be imposed” in violation of the credit advertising

provisions of TILA, 15 U.S.C. § 1663. Id., ¶ 46.1

        Although initially scheduled to close on July 27, 2021, discovery closed two weeks early

on July 12, 2021 at the request of the parties.2 ECF No. 79. By this time, Plaintiff had already

filed his first motion for summary judgment styled as a “Motion for Punitive Damages Hearing.”

See ECF No. 74. M&T opposed the motion, and Plaintiff responded with a 33-page reply and

another 110 pages of exhibits, many of which are either irrelevant or are copies of pleadings and

papers already filed in this case. See ECF No. 85. Because the reply is the first time Plaintiff

“presents specific legal arguments in support of his contention that summary judgment is

warranted,” this Court re-docketed the reply as “Plaintiff’s Motion for Summary Judgment” and

denied the “Motion for Punitive Damages Hearing.” ECF No. 84.

        While Plaintiff’s Motion for Summary Judgment may include some legal argument, it is

devoid of any statement of material facts and instead only sets forth conclusory assertions of

liability. Plaintiff accuses M&T of violating the FCRA, but nowhere in his motion does he set



1
  Plaintiff also accused M&T of violating TILA, 15 U.S.C. § 1632, regarding the posting of the credit
card agreement on an Internet site, but Plaintiff voluntarily dismissed that claim on July 26, 2021. See
ECF No. 84.
2
  M&T agreed with Plaintiff to conclude discovery on July 12, 2021, on the condition that M&T be
entitled to take Plaintiff’s deposition after dispositive motions, to the extent necessary. This conditional
agreement was necessary because Plaintiff failed to appear for his deposition, which M&T scheduled at
his request for July 8, 2021.


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forth the specific information reported by M&T that he contends is inaccurate or misleading. Nor

does Plaintiff provide any facts or law that would allow him to circumvent his repayment

obligations in order to raise a bona fide dispute concerning the underlying credit terms.3

           Plaintiff also misapprehends the standard for summary judgment by believing that M&T

has the burden of proof. See, e.g., ECF No. 85 at 7 (“M&T has provided no evidentiary material

to support” its position). To the contrary, it is Plaintiff’s burden to show that there is no genuine

issue as to any material fact and that he is entitled to judgment as a matter of law, and Plaintiff

has failed in both respects. Plaintiff even goes so far as to try to amend his Amended Complaint

to add new theories of liability4 but that too is impermissible.5 Plaintiff concludes his motion by

asking “for the relief that the Court deems just and fair.” Id. at 33. Such relief in this case is to

deny Plaintiff’s motion and grant summary judgment in favor of M&T on all claims.

           Notwithstanding the filing of the Amended Complaint, Plaintiff’s claims still arise out of:

(1) Plaintiff’s failure to understand and comply with his basic repayment obligations under the

credit agreement he entered into with M&T; and (2) Plaintiff’s failure to check his mail or

otherwise monitor his account during a 3-month-long sojourn away from the address that he

provided to M&T when he opened the credit card account—and to which address M&T sent all

correspondence with Plaintiff. The undisputed material facts show that Plaintiff failed to make



3
 Although Plaintiff asks the Court to “grant summary judgment on all claims,” (ECF No. 85 at 33), his
motion does not mention, much less, address the TILA claim asserted in Count Two of the Amended
Complaint. Accordingly, any request by Plaintiff for summary judgment on that claim must be denied.
4
    See fn. 19, infra.
5
  Plaintiff also spends nearly sixteen pages of his Motion for Summary Judgment addressing punitive
damages. See ECF No. 85 at 17-32. Notwithstanding the fact that Plaintiff has not and cannot show that
M&T violated the FCRA – let alone engaged in willful noncompliance – any argument concerning
punitive damages at summary judgment is premature. “Punitive damages are normally for the jury to
decide” after a determination of liability that would allow consideration of such damages. Desrosiers v.
MAG Indus. Automation Systems, LLC, No. WDQ-07-2253, 2010 WL 4116991 (D. Md. Oct. 19, 2010)
(citing Owens-Corning Fiberglas Corp. v. Garrett, 343 Md. 500, 540 (1996)).


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the minimum required payments and, as a result, M&T reported his delinquency to the credit

reporting agencies (“CRAs”). Plaintiff does not dispute the accuracy of the specific information

reported by M&T but rather disputes having any payment obligation at all. That dispute is not

credible nor bona fide given the clear and explicit terms of the credit agreement that Plaintiff

accepted when he used the credit card.

        Similarly without merit is Plaintiff’s credit advertising disclosure claim. Not only is there

no private cause of action for the violation alleged but neither TILA nor its implementing

regulations, Regulation Z, require disclosure of the minimum required payment amount in the

advertisement of credit.

        Accordingly, for these reasons as discussed further below, M&T is entitled to entry of

judgment as a matter of law on all claims asserted in the Amended Complaint, and the Court

should deny Plaintiff’s Motion for Summary Judgment.

                 II.     STATEMENT OF UNDISPUTED MATERIAL FACTS

A. Plaintiff’s Credit Card Agreement.

        On or about July 17, 2020, Plaintiff applied for an M&T Visa Credit Card with Rewards

by completing an application similar to the one attached here as Exhibit 1. 6 ECF No. 62, ¶ 4. As

part of the application, Plaintiff agreed that he would “comply with all of the terms contained in

your M&T Bank Credit Card Agreement and Disclosures that [M&T] will provide to you” upon

acceptance of the application. Exhibit 1 at 3.7 M&T subsequently approved Plaintiff for the

credit card.



6
  Plaintiff produced this credit card application in discovery, claiming that the application is the sole basis
for his claim under TILA. See Exhibit 1.
7
 For the Court’s convenience, M&T highlighted with a “red box” or in yellow the relevant portions of
each exhibit. M&T also redacted Plaintiff’s personal identifying information from certain exhibits in
accordance with Fed. R. Civ. P. 5.2(a).


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        On or about July 21, 2020, Plaintiff received a letter from M&T that included the

physical credit card, a disclosure identifying the various charges associated with the credit card,

and the M&T Bank Visa Credit Card Agreement (“Credit Agreement”). ECF No. 62, ¶¶ 4, 8, 9,

20. See Introductory Letter and Disclosure (ECF No. 15-1) and Credit Agreement (ECF No. 15-

5), attached hereto as Exhibits 2 and 3, respectively.8 M&T mailed these documents to Plaintiff

at 100 East Redwood Street, Apt 2013, Baltimore, MD 21202 – Plaintiff’s residence and “the

address on file with M&T.” Id., ¶¶ 15, 17; see also Exs. 2 and 3.

        Per its terms, the Credit Agreement “becomes effective as soon as You [Plaintiff] activate

the Card or the Account.” Ex. 3 at 3 (“Effective Date”). The Credit Agreement further provides

that “[b]y applying for or using the Card, You [Plaintiff] accept, agree to, and are bound by these

terms and conditions” and “promise to do everything this Agreement requires of You, and You

promise to pay all amounts due on Your Account.” Id. (“Responsibility”).

        Relevant here, the Credit Agreement requires Plaintiff to “pay at least the Minimum

Monthly Payment shown on the statement” and further requires payment to be made “[b]y the

date shown on any statement for [Plaintiff’s] Account” Id. at 7 (“Method of Payment”). The

Credit Agreement defines “Minimum Monthly Payment” as the greater of:

        (a)   $15; or

         (b) 2.5% of the Outstanding Balance[9] of Your Account at the end of a
             billing period plus the greater of (i) any amounts over limit or (ii) any
             past due amounts.

8
 The Credit Agreement attached as Exhibit 3 to the initial Complaint and referenced in the Amended
Complaint is incomplete and illegible. However, Plaintiff filed a legible and complete version of the same
Credit Agreement in the format in which it was received, as part of ECF No. 15. For purposes of clarity,
M&T attaches and will cite to the Credit Agreement filed at ECF No. 15-5, rather than the illegible
version attached to the Complaint and referenced in the Amended Complaint.
9
  Outstanding Balance is defined under the Credit Agreement as “the total dollar amount of Your
obligation under this Agreement for all Transactions, interest, finance charges, fees, and any other costs.”
Ex. 3 at 3 (“Definitions”).


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Id. (“Monthly Minimum Payment”). The Credit Agreement – like the Disclosure included with

the Introductory Letter – warns that “if any Minimum Monthly Payment is overdue” Plaintiff

“must pay a late charge” which will be added to the balance owed on the account. Id. at 6 (“Fees

and Charges”).

        Notably, the Agreement explains that Plaintiff will be in default if “You [Plaintiff] fail to

make any payment when due under this Agreement….” Id. at 8 (“Default”).

B. Plaintiff’s Use of the Credit Card.

        On or about August 3, 2020, Plaintiff activated the credit card by transferring to it a

$2,200 balance that Plaintiff owed on a credit card account with Bank of America. ECF No. 62,

¶ 12; see also August 2020 Account Statement, attached as Exhibit 4. The balance transfer took

place on August 3, 2020 and posted on Plaintiff’s account on August 4, 2020, along with a

balance transfer fee in the amount of $88.00.10 Ex. 4.

        The balance transfer of $2,200 along with the $88 fee appeared on the first account

statement that M&T sent to Plaintiff in August 2020. See Ex. 4, August 2020 Account Statement.

Consistent with the terms of the Credit Agreement,11 M&T mailed this account statement – and

all other account statements – to Plaintiff’s “address on file with M&T.” Compare ECF No. 62,



10
   The application Plaintiff completed to obtain the credit card, the Disclosure that accompanied the
Introductory Letter, and the Credit Agreement each disclose a “balance transfer fee” equal to “4% of each
balance transfer (minimum $10)”. Exs. 1 and 2; see also Ex. 3 at 6 (“Balance Transfer”). Consistent with
this term and Plaintiff’s agreement to pay the fee, M&T charged Plaintiff a “balance transfer fee” of
$88.00 – 4% of the $2,200 transferred from the credit card account with Bank of America. See Ex. 4.
11
   The Credit Agreement provides that “[s]tatements and notices . . . will be mailed to You at the most
recent address You have given Us, as shown in our records concerning Your Account.” Ex. 3 at 8
(“Communication Regarding Account, Statements and Notices”). Notably, neither the Credit Agreement
nor any federal or state statute or regulation obligates M&T to use any other methods of communication.
While Plaintiff complains that he was not contacted by telephone or by email regarding his admitted
failure to make monthly payments, he has not and cannot point to any legal requirement imposing such an
obligation on M&T.


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¶ 15 to Ex 4. The August 2020 Account Statement reflected a balance of $2,288 and required a

minimum payment of $57.00 by September 13, 2020. See Ex. 4.

       Plaintiff admittedly did not make the minimum payment due on September 13, 2020, and

consequently, M&T sent Plaintiff a letter dated September 18, 2020, advising that his “account is

currently past due” and warning that the “[f]ailure to make . . . payment may result in a late fee

being assessed.” Letter dated September 18, 2020, attached as Exhibit 5. M&T mailed the

September 18, 2020 letter – as well as all other collection letters, see Exs. 7, 9, 11, 13-14, infra. –

to Plaintiff’s “address on file with M&T.” Compare ECF No. 62, ¶ 15 to Ex. 5.

       Thereafter, M&T sent Plaintiff the account statement for September 2020. This statement

reflected the same outstanding balance of $2,288, indicated in red a past due amount of $57, and

required a minimum payment of $114 by October 13, 2020. See September 2020 Account

Statement, attached as Exhibit 6. M&T followed up the account statement with a letter dated

September 25, 2020, informing Plaintiff that the bank is “temporarily suspending your right to

use your card” and requiring Plaintiff “to pay the total amount due” of $57 “[i]n order to

reinstate your account.” See Letter dated September 25, 2020, attached as Exhibit 7.

       Plaintiff did not take any action to cure the delinquency reflected in the September 2020

Account Statement or the collection letter dated September 25, 2020. See Ex. 8, Plaintiff’s

Responses to Request for Admission Nos. 5, 6. This prompted M&T to send Plaintiff another

letter dated October 16, 2020, informing Plaintiff that his “account is now past due in the amount

of $114.00” and that M&T is “temporarily suspending your right to use your card.” See Letter

dated October 16, 2020, attached as Exhibit 9.




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       Also in October 2020, M&T sent Plaintiff another account statement, reflecting a balance

of $2,313 (including a $25 late fee) and, in red, a past due amount of $114. See October 2020

Account Statement, attached as Exhibit 10. The account statement also required a minimum

payment of $172 by November 13, 2020 and informed Plaintiff “[d]ue to serious delinquency on

your account, your Credit Line has been suspended.” Id. Plaintiff still did not make any payment

on his credit card account. See Ex. 8, Plaintiff’s Responses to Request for Admission Nos. 6, 7.

       At the beginning of November 2020, M&T sent Plaintiff a letter advising that his

“account is 50 days past due” and requesting immediate payment of the past due amount of

$114. See Letter dated November 5, 2020, attached as Exhibit 11. Shortly thereafter, M&T

mailed Plaintiff the account statement for November, which reflected a balance of $2,348

(including a $35 late fee) and a past due amount of $172 and required a minimum payment of

$231 by December 13, 2020. See November 2020 Account Statement, attached as Exhibit 12.

M&T also sent Plaintiff a letter dated November 16, 2020, informing him that his credit card

account “has been permanently terminated because you have not met the repayment terms set

forth in the agreement.” See Letter dated November 16, 2020, attached as Exhibit 13. M&T

further demanded Plaintiff to pay the past due amount of $172 immediately “to prevent further

damage to your credit.” Id.; see also Letter dated December 1, 2020, attached as Exhibit 14.

Plaintiff admittedly did not make any payment in November 2020 or by the December 13, 2020

due date. See Ex. 5, Plaintiff’s Response to Request for Admission No. 7.

       M&T then sent Plaintiff the account statement for December 2020, which included the

assessment of another $35 late fee, bringing the account balance to $2,383. See December 2020

Account Statement, attached as Exhibit 15. The account statement reflected a past due amount of

$231 and required a minimum payment of $291 by January 13, 2020. Id.




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          Despite M&T mailing Plaintiff all of the account statements and all of the collection

letters to 100 East Redwood Street, Apt 2013, Baltimore, MD 21202 – Plaintiff’s residence and

“the address on file with M&T” – Plaintiff did not review any of these documents until sometime

in December 2020. ECF No. 62, ¶¶ 15, 17; see also Exs 2, 4--7, 9-15. Apparently, in September

2020, Plaintiff “relocated” from his residence in Baltimore and moved in with his parents in

Arnold, Maryland, but never advised M&T of his change in address. ECF No. 62, ¶ 15; Ex. 8,

Plaintiff’s Responses to Requests for Admission No. 10-13. Plaintiff lived with his parents for

approximately three months, during which time he never returned to his residence to pick up his

mail. Id., ¶ 17. As a result, Plaintiff did not see any of the account statements or letters sent by

M&T advising him that his credit card account was past due and that he was in default of his

payment obligations until he returned to his apartment in mid-December 2020 and checked his

mail for the first time in more than three months. Id., ¶ 18. Soon thereafter, Plaintiff contacted

M&T by telephone to make his first payment of $231, which did not post until December 23,

2020, and obtain the reversal of two late fees.12 ECF No. 62, ¶ 21; see also January 2021

Account Statement, attached as Exhibit 16.

C. Plaintiff’s Disputes to the Credit Reporting Agencies.

          Beginning in the end of December 2020 and continuing through the filing of this action,

Plaintiff submitted no less than eight disputes relating to his M&T credit card to three different

CRAs. Plaintiff first disputed the account information on December 31, 2020 and in response,

M&T received automated consumer dispute verifications (“ACDVs”) from TransUnion and

Experian. See ACDV 1 (TransUnion) and ACDV 2 (Experian), attached as Exhibits 17 and 18,




12
     As a courtesy, M&T reversed the late fees assessed on November 17, 2020 and December 17, 2020.


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respectively.13 ACDV 1 indicated that Plaintiff is disputing all of the information that M&T

reported and claiming that M&T “engaged in intimidation tactics without properly

communicating with borrower regarding overdue payments.” Ex. 17, ACDV 1. Plaintiff also

reported that M&T “did not have accurate contact information” for him.14 Id. ACDV 2 similarly

indicated that Plaintiff is disputing all of the information reported by M&T, claiming “the

information submitted by M&T was not in good faith.” Ex. 18, ACDV 2 (all caps omitted).

M&T investigated both disputes and timely responded to ACDV 1 on January 5, 2021 and to

ACDV 2 on January 4, 2021, either verifying the accuracy of the information reported or

updating the disputed information with more current account information. Compare Ex. 17 and

18, ACDV 1 and ACDV 2 to Ex. 13, Letter dated November 16, 2020, and Ex. 15, December

2020 Account Statement.15 See also Ex. A to M&T’s Cross Motion, Evans Aff., ¶ 11.

        Between January 5, 2021 and January 7, 2021, Plaintiff filed three more disputes

substantially similar to the first ones, all with Experian. See ACDV 3 (Experian), ACDV 4

(Experian), and ACDV 5 (Experian), attached as Exhibits 19, 20, and 21, respectively. Id. Much

like the first disputes, Plaintiff continued to dispute all of the information reported by M&T but

did not identify any specific information that he believed was inaccurate. Id. M&T investigated

13
  Because of the way the e-OSCAR system is set up, a watermark with the word “DRAFT” appears on
the ACDV when a hard copy is printed by M&T. See Exs. 17-24. While the ACDVs attached as Exhibits
17 through 24 may bear the watermark “DRAFT”, they are in fact the final document submitted in
response to the dispute and were submitted on the date listed on the ACDV next to the employee’s name.
See also Affidavit of Kathleen Evans (“Evans Aff.”), ¶ 11.a, fn. 1, attached as Ex. A to M&T’s Cross
Motion.
14
  Plaintiff’s claims are patently incorrect and conflict with the undisputed fact that M&T sent all of the
account statements and collection letters to Plaintiff at “the address on file with M&T” and that Plaintiff
received all of the statements and letters sent to this address. See Ex. 27, infra.
15
  The December 2020 Account Statement reflects a balance of $2,383. Ex. 15, December 2020 Account
Statement. Because Plaintiff did not pay the minimum amount of $231 by December 13, 2020 (See Ex.
12, November 2020 Account Statement), another $35 late fee was assessed on December 17, 2020 (see
Ex. 16, January 2020 Account Statement), which brought the “high credit” on the credit card to $2,418.00
($2,828 + $35).


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the disputes and timely responded to ACDV 3 on January 5, 2021, ACDV 4 on January 6, 2021,

and ACDV 5 on January 13, 2021. Id. In response to ACDV 3, M&T investigated and verified

the accuracy of certain disputed account information and updated other account information with

the same information provided in response to ACDV 2. Compare Ex. 19, ACDV 3 to Ex. 13,

Letter dated November 16, 2020 and Ex. 15, December 2020 Account Statement. For ACDV 4

and ACDV 5, M&T investigated and verified that the disputed information was accurate and

updated the information unrelated to the dispute to reflect that it closed the account on November

16, 2020. Compare Exs. 20 and 21, ACDV 4 and ACDV 5 to Ex. 13, Letter dated November 16,

2020, and Ex. 15, December 2020 Account Statement. See also Ex. A to M&T’s Cross Motion,

Evans Aff., ¶¶ 12, 13.

       On February 9, 2021, Plaintiff submitted his fifth dispute to Experian, and like the others

that came this one, Plaintiff continued to dispute all of the information reported by M&T without

identifying any specific information he claimed was inaccurate. See ACDV 6 (Experian),

attached as Exhibit 22. M&T investigated and timely responded on February 10, 2021, verifying

the accuracy of the disputed information and updating other information unrelated to the dispute.

Compare Ex. 22, ACDV 6 to Ex. 13, Letter dated November 16, 2020, Ex. 15, December 2020

Account Statement, and Ex. 16, January 2021 Account Statement. See also Ex. A to M&T’s

Cross Motion, Evans Aff., ¶ 14.

       Two weeks later, on February 20, 2021 and again on February 23, 2021, Plaintiff filed

more disputes with the CRAs. See ACDV 7 (Equifax) and ACDV 8 (Experian), attached as

Exhibits 23 and 24, respectively. To Equifax, Plaintiff complained, “he was never late on his

payment,” “wanted to have the late payment . . . removed,” and “there is no bills [sic] that was




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sent to him.”16 Ex. 23, ACDV 7 (all caps omitted). M&T investigated the claim and verified the

accuracy of the reported information. Compare Ex. 22 to February 2020 Account Statement,

attached as Exhibit 25. To Experian, Plaintiff made the same claim as before and disputed all of

the account information. Ex. 23, ACDV 8. M&T investigated and timely responded to Experian

on February 23, 2021, verifying the accuracy of the disputed information and updating other

information unrelated to the dispute. Compare Ex. 24, ACDV 6 to Ex. 13, Letter dated

November 16, 2020, Ex. 15, December 2020 Account Statement, and Ex. 25, February 2021

Account Statement. See also Ex. A to M&T’s Cross Motion, Evans Aff., ¶¶ 15, 16.

D. Plaintiff’s Disputes to M&T.

        Separate and apart but in addition to the disputes submitted to the CRAs, Plaintiff also

sent M&T an email on December 30, 2020, claiming that the derogatory credit information M&T

reported to the CRAs was “submitted in bad faith.” ECF No. 62, ¶ 22; Email dated December 30,

2020, attached as Exhibit 26.17 Plaintiff sent the email to Investor Relations at ir@mtb.com with

copies to certain M&T employees. Id. Attached to the email was a “Personal Statement” from

Plaintiff admitting that “the physical statements were delivered to my apartment located at 100

East Redwood Street, Baltimore, Maryland 21202 each month up to December 2020” and that he

“found numerous statements and letters from M&T regarding the line of credit” when he

returned to his apartment the first week of December 2020 to check on his mail. See Plaintiff’s



16
  The latter statement that bills were never sent to Plaintiff is factually incorrect as Plaintiff concedes he
received all of the statements and all of the collection letters at “the address on file with M&T.” See Ex.
27, infra.
17
  Attached to Plaintiff’s December 30, 2020 email are three credit reports, an email exchange with a bank
branch employee and Plaintiff’s “Personal Statement.” M&T only attaches the December 30, 2020 email
and the “Personal Statement” and does not attach the other documents because they either contain
Plaintiff’s personal financial information and/or are not material to this motion. To the extent the Court
wants to review the other documents attached to Plaintiff’s December 30, 2020 email, M&T will
supplement this filing with those additional documents.


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“Personal Statement” dated December 30, 2020, attached as Exhibit 27. Notwithstanding the fact

that M&T mailed the account statements and the collection letters to the address Plaintiff

provided when he opened the credit card, and Plaintiff received those statements and letters at

that address, Plaintiff complained that M&T did not call or email him regarding his failure to

make minimum payments. Id. Plaintiff also complained that M&T did not “make clear . . . that

the account would be subject to minimum monthly payments of principal” despite disclosing that

obligation in the Credit Agreement that was provided with the credit card. Id; see also Exs. 2 and

3. Nowhere on the Personal Statement did Plaintiff identify the specific information reported by

M&T that he claimed was inaccurate; it was the reporting itself with which he took issue.

                              III.    STANDARD OF REVIEW

       As the Supreme Court noted:

       Rule 56 must be construed with due regard not only for the rights of persons
       asserting claims and defenses that are adequately based in fact to have those
       claims and defenses tried to a jury, but also for the rights of persons opposing
       such claims and defenses to demonstrate in the manner provided by the Rule,
       prior to trial, that the claims and defenses have no factual basis.

Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986).

       Following Celotex, the Fourth Circuit emphasized that trial judges have “an affirmative

obligation . . . to prevent factually unsupported claims and defenses from proceeding to trial.”

Felty v. Graves-Humphreys Co., 818 F.2d 1126, 1128 (4th Cir. 1987).

       Pursuant to Rule 56(c), summary judgment is appropriate “if the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if any, show that

there is no genuine issue as to any material fact and that the moving party is entitled to judgment

as a matter of law.” Anderson v. Liberty Lobby Inc., 477 U.S. 242, 247 (1986). To avoid

summary judgment, the nonmoving party must demonstrate there is a genuine dispute of material




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fact that precludes the award of summary judgment as a matter of law. Ricci v. DeStefano, 557

U.S. 557, 585-86 (2009); see also, e.g., Gordon v. CIGNA Corp., 890 F.3d 463, 470 (4th Cir.

2018).

         The Supreme Court has clarified that not every factual dispute will defeat summary

judgment. “By its very terms, this standard provides that the mere existence of some alleged

factual dispute between the parties will not defeat an otherwise properly supported motion for

summary judgment; the requirement is that there be no genuine issue of material fact.” Anderson,

477 U.S. at 247-48. A fact is “material” if it “might affect the outcome of the suit under the

governing law.” Id. at 248.

         “A party opposing a properly supported motion for summary judgment ‘may not rest

upon the mere allegations or denials of [its] pleadings,’ but rather must ‘set forth specific facts

showing that there is a genuine issue for trial.’” Bouchat v. Balt. Ravens Football Club, Inc., 346

F.3d 514, 522 (4th Cir. 2003) (quoting former Fed. R. Civ. P. 56(e)), cert. denied, 541 U.S. 1042

(2004); see Celotex, 477 U.S. at 322-24. However, “[t]he mere existence of a scintilla of

evidence in support of the plaintiff's position [is] insufficient.” Anderson, 477 U.S. at 252.

Similarly, “a party’s self-serving opinion . . . cannot, absent objective corroboration, defeat

summary judgment.” Williams v. Giant Food Inc., 370 F.3d 423, 433 (4th Cir. 2004).

         Finally, although pro se pleadings are “held to less stringent standards than formal

pleadings drafted by lawyers,” (Allen v. Brodie, 573 F. Supp. 87, 89 (D. Md. 1983) (quoting

Haines v. Kerner, 404 U.S. 519, 520-21 (1972)), this Court recently held in Eastridge v. Fifth

Third Bank, 2021 WL 1530175, at *3 (D. Md. Apr. 19, 2021) that “pro se status does not lessen

a party’s burden with respect to the court’s consideration of a summary judgment motion.”

Accordingly, pro se litigants “must still set forth facts sufficient to withstand summary




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judgment.” Symeonidis v. Paxton Capital Group, Inc., 220 F. Supp. 2d 478, 480 n.4 (D. Md.

2002).

                                      IV.     ARGUMENT

A. M&T is Entitled to Summary Judgment on Plaintiff’s FCRA Claim as Alleged in Count
   One of the Amended Complaint.

         “‘Congress enacted [the] FCRA in 1970 to ensure fair and accurate credit reporting,

promote efficiency in the banking system, and protect consumer privacy.’” Alston v. United

Collections Bur., Inc., Case No. DKC 13-0913, 2014 WL 859013 (D. Md. Mar. 4, 2014)

(quoting Saunders v. Branch Banking & Trust Co. of Va., 526 F.3d 142, 147 (4th Cir. 2008)).

“[T]he FCRA places distinct obligations on three types of entities: consumer reporting agencies,

users of consumer reports, and furnishers of information to consumer reporting agencies.”

Chipka v. Bank of Am., 355 F. App'x 380, 382 (11th Cir. 2009). Here, M&T is a furnisher of

information, and the FCRA imposes two sets of duties upon furnishers. See 15 U.S.C. § 1681s-

2(a) and (b).

         First, § 1681s-2(a) imposes a duty upon the furnisher to provide accurate information. 15

U.S.C. § 1681s-2(a). However, there is no private right of action for a violation of § 1681s-2(a).

See, e.g., 15 U.S.C. § 1681s-2(c)(1),6 (d); Saunders, 526 F.3d at 149 (interpreting § 1681s-2(c)

to conclude that the “FCRA explicitly bars private suits for violations of § 1681s-2(a)”); Ausar v.

Barclay Bank Delaware, Civ. No. PJM 12-0082, 2012 WL 3137151, at * 2 (D. Md. July 31,

2012) (dismissing claim that defendant violated the FCRA by failing to provide correct and

accurate information to consumer reporting agencies because the “FCRA makes clear that

federal and state authorities have exclusive enforcement powers over § 1681s-2(a)”).

Accordingly, to the extent Plaintiff argues in his Motion for Summary Judgment that M&T failed




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to report the debt as disputed in violation of § 1681s-2(a), that claim fails as a matter of law.

ECF No. 85 at 12-14.18

        Second, upon receiving a dispute of inaccuracy from a CRA, § 1681s-2(b) imposes a duty

upon the furnisher to conduct a reasonable investigation, report the results of that investigation to

the CRA, and modify or delete any inaccurate information. 15 U.S.C. § 1681s-2(a) and (b). To

bring a claim under § 1681s–2(b), “a plaintiff must establish three elements: (1) that he or she

notified the consumer reporting agency of the disputed information, (2) that the consumer

reporting agency notified the defendant furnisher of the dispute, and (3) that the furnisher then

failed to investigate and modify the inaccurate information.” Ausar-El v. Barclay Bank

Delaware, PJM-12-0082, 2012 WL 3137151, at *3 (D. Md. July 31, 2012). The federal courts

have recognized that only a “bona fide dispute” may give rise to liability under the FCRA. See,

e.g., Shap v. Cap. One Fin. Corp., 2012 WL 1080127, at *4 n. 27 (E.D. Pa. Mar. 30, 2012)

(collecting cases). Section 1681s–2(a)(8)(D), which provides clear guidance to consumers

seeking to dispute the accuracy of information furnished to the consumer reporting agencies, is

instructive in determining whether a consumer dispute is “bona fide”:




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  Plaintiff spends several pages of his Motion for Summary Judgment setting forth his efforts to dispute
the information directly with M&T. Specifically, Plaintiff references 50 telephone calls and more than
twenty emails he sent between December 2020 and March 2021. ECF No. 85 at 12-14. Regardless of the
substance or nature of these communications, Plaintiff’s direct disputes to M&T do not trigger any duties
under § 1681s–2(b). See Shap v. Cap. One Fin. Corp., No. CIV.A. 11-4461, 2012 WL 1080127, at *5
(E.D. Pa. Mar. 30, 2012) (“A consumer's direct dispute to the furnisher does not trigger a furnisher's
duties under § 1681s–2(b).”); Groves v. U.S. Bank, No. 10–2665, 2011 WL 2192821, at *5 (M.D. Fla.
June 6, 2011) (“[A] direct dispute does not trigger the furnisher's duty under [§ ] 1681s–2(b).”).
Moreover, Plaintiff’s phone calls and emails are not properly considered direct disputes because they
were not sent “directly to the [furnisher] at the address specified by the [furnisher] for such notices” as
required by § 1681s–2(a)(8)(D). M&T’s account statements specify the following address for direct
disputes: “M&T Bank, P.O. Box 900, Millsboro, DE 19966,” (see, e.g., Ex. 4, August 2020 Account
Statement), and based on the fact that Plaintiff contacted M&T by phone and by email, he clearly did not
comply with the notice requirements for direct disputes so as to trigger any obligations under
§ 1681s–2(a).


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        A consumer who seeks to dispute the accuracy of information shall provide a
        dispute notice directly to such person at the address specified by the person for
        such notices that—

                (i) identifies the specific information that is being disputed;

                (ii) explains the basis for the dispute; and

                (iii) includes all supporting documentation required by the furnisher to
                substantiate the basis of the dispute.

15 U.S.C.A. § 1681s–2(a)(8)(D); see also Palouian v. FIA Card Servs., 2013 WL 1827615, at *3

(E.D. Pa. May 1, 2013) (utilizing the statutory guidance to determine whether the dispute at issue

was “bona fide”).

        Here, Plaintiff alleges that M&T willfully violated 15 U.S.C. § 1681s-2(b), “by failing to

report the fact that plaintiff was disputing the underlying credit terms with the Defendant.” ECF

No. 62, ¶ 35 (emphasis added).19 That is, Plaintiff never disputed the existence of the debt, the

amount of the debt, the fact of his non-payment, or that the charges assessed were inconsistent

with the terms of his Credit Agreement with M&T. Rather, as noted in the Court’s Memorandum

Opinion on M&T’s Motion to Dismiss, Plaintiff disputed whether “he was properly notified of




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     In his Motion for Summary Judgment, Plaintiff contends “that M&T violated § 1681s-2(b) by
. . . failing to conduct a lawful investigation after receiving notice from the CRAs of Plaintiff’s disputes.”
ECF No. 85 at 16. However, no such allegation or claim appears in the Amended Complaint. In fact, the
word “investigation” is not even mentioned in any of the 82 separately numbered paragraphs that
comprise Plaintiff’s amended pleading. It is well established that a plaintiff cannot amend his complaint
through summary judgment. Harris v. Reston Hosp. Ctr., LLC, 523 F. App'x 938, 946 (4th Cir. 2013).
That is true even if that theory is based on the same statute underlying other alleged purported theories of
liability. Jones v. Koons Auto., Inc., No. CIV. A. DKC 09-3362, 2013 WL 3713845, at *5 (D. Md. July
15, 2013); Noshafagh v. Leggett, No. CIV. A. DKC 11-3038, 2013 WL 93345, at *6 (D. Md. Jan. 7,
2013). Accordingly, any argument by Plaintiff challenging the adequacy of M&T’s investigation is not
properly before this Court and must be rejected. See Neal v. Pentagon Fed. Credit Union, No. CV ELH-
18-451, 2019 WL 4038564, at *14 (D. Md. Aug. 27, 2019) (rejecting plaintiff’s attempt to assert new
claim through briefing on summary judgment).


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the terms and [whether] he is actually bound by the credit agreement.”20 Carrasco, 2021 WL

1634711, at *4. According to this Court, “[i]f Plaintiff was not actually bound by the agreement

his ‘failure to pay the debt [would] not reflect financial irresponsibility,’ and M&T’s failure to

disclose the dispute would be misleading.” Id. (citing Saunders, 526 F.3d at 150).

       Thus, the critical question before this Court is whether Plaintiff is bound by the terms of

the Credit Agreement because, if he is, his claim under the FCRA fails as a matter of law. Based

on the undisputed material facts and the applicable law, not only is Plaintiff bound by the terms

of the Credit Agreement but also he admittedly failed to make the required minimum monthly

payments as reported by M&T to the CRAs. While Plaintiff may allege that he was not “properly

notified” of the terms of the Credit Agreement, Plaintiff’s receipt and acceptance of the Credit

Card Agreement is clear.

       Plaintiff received the Credit Agreement and the physical credit card in the same mailing

on or about July 21, 2020. ECF No. 62, ¶¶ 4, 8, 9, 20; see also Exs. 2 and 3. Thereafter, Plaintiff

used the credit card by transferring to the new card a $2,200 balance that Plaintiff owed on a

credit card account with Bank of America. ECF No. 62, ¶ 12; Ex. 4. By using the credit card,

Plaintiff accepted and agreed to be bound by the terms of the Credit Agreement and promised “to

pay all amounts due on Your Account.” Ex. 3 at 3 (“Responsibility”); see also Grasso v. First

USA Bank, 713 A.2d 304, 308-09 (Del. 1998) (credit card holder accepted agreement's terms by

using credit card); Gaynoe v. First Union Direct Bank, N.A., 2001 WL 34000142, *6 (N.C.

Super. Jan. 18, 2001) (cardholder's use of credit card issued by bank constituted acceptance of


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  While Plaintiff contends that his credit card “was advertised as having no minimum payments within
the first 12 months in addition to 0% APR without limitation during” the same period of time (See Ex.
27), he has failed to offer any evidence supporting this contention. Indeed, nowhere in any of the 85
docket entries in this case or in the 110 pages of exhibits attached to his Motion for Summary Judgment
does Plaintiff provide the allegedly offending advertisement. While such omission may have allowed
Plaintiff to avoid dismissal, it is fatal to his effort to defeat summary judgment.


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the contract terms); Mangahas v. Barclays Bank Del., No. SACV 16-00093 JVS (JCGx), 2016

WL 11002179, at *2 (C.D. Cal. May 9, 2016) (“[The plaintiff’s] use of the credit card

constituted assent to the terms of the cardmember agreement, including its arbitration

provision.”); Kulig v. Midland Funding, LLC, No. 13 Civ. 4715(PKC), 2013 WL 6017444, at *6

(S.D.N.Y. Nov. 13, 2013) (“[T]he use of a credit card constitutes acceptance of an offer of

credit....”).

         Because the terms of his Credit Agreement bind Plaintiff as a matter of law, his disputes

to the CRAs are not bona fide. It is undisputed that Plaintiff did not comply with his repayment

obligations under the Credit Agreement and, specifically, did not make the required minimum

monthly payments due in September, October, November and December 2020. As a result,

Plaintiff incurred four late fees and had his credit card cancelled on November 16, 2020. M&T

accurately reported this information to the CRAs in accordance with its obligations under the

FCRA. That M&T did not also report that Plaintiff was disputing the underlying obligation to

make payments on the credit card does not violate the FCRA. Under settled law, M&T “does not

report ‘incomplete or inaccurate’ information within the meaning of §1681s-2(b) simply by

failing to report a meritless dispute, because reporting an actual debt without noting that it is

dispute is unlikely to be materially misleading.” Gorman v. Wolpoff & Abramson, LLP, 584 F.3d

1147, 1163 (9th Cir. 2009) (citing Saunders, 526 F.3d at 150).

         Plaintiff cites Saunders, for the proposition that, regardless of the nature of the dispute,

information about an account is “incomplete or inaccurate” if the information does not include an

account holder’s dispute. ECF No. 85 at 6. Plaintiff’s reliance on Saunders is misplaced. In

Saunders, the court held only that it was wrong to conclude that “reporting a debt without

reporting its disputed nature can never be deemed inaccurate as a matter of law.” Saunders, 526




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F.3d at 149 (emphasis in original). The ultimate question is whether failing to report the dispute

is “misleading in such a way and to such an extent that [it] can be expected to have an adverse

effect.” Id. at 150 (quoting Dalton v. Capital Associated Industries, 257 F.3d 409, 415 (4th Cir.

2001)). Bound by his Credit Agreement, Plaintiff admittedly did not make any of the payments

required by the agreement for a period of more than four months. Thus, M&T’s was under no

obligation to report Plaintiff’s account as disputed — particularly when it verified the accuracy

of the reported information within a matter of days after receiving each dispute.21 As this Court

previously recognized, such an obligation would only exist “[i]f Plaintiff was not actually bound

by the agreement” but that is not the case based on the undisputed facts of this matter. Carrasco,

2021 WL 1634711, at *4. Accordingly, M&T is entitled to entry of summary judgment on Count

One of Plaintiff’s Amended Complaint.

B. M&T is Entitled to Summary Judgment on Plaintiff’s TILA Claim under 15 U.S.C.
   § 1663 as Alleged in Count Two of the Amended Complaint.

       Plaintiff alleges that M&T violated the advertising disclosure requirements of 15 U.S.C.

§ 1663 because it advertised an open-end credit plan with 0% APR for the first twelve months,

but did not disclose the required minimum monthly payments. ECF No. 62, ¶ 44. In discovery,

Plaintiff produced the offending advertisement – M&T’s “Marketing Brochure with

Application”. See Ex. 1. Plaintiff’s TILA fails at the threshold because there is no private right of

action for allegedly violating the statute’s credit advertising provisions.




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   Plaintiff seems to argue that once he reports a dispute to a CRA, M&T is then required to mark his
account “disputed” in perpetuity regardless of whether the bank’s investigation confirms the accuracy of
the reported information. Saunders does not stand for this position, and M&T is unaware of any authority
– and Plaintiff has not cited any – that support this contention.


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       TILA is composed of five distinct parts: Part A-General Provisions (15 U.S.C. §§ 1601-

1616); Part B-Credit Transactions (15 U.S.C. §§ 1631-1651); Part C-Credit Advertising and

Limits on Credit Card Fees (15 U.S.C. §§ 1661-1665); Part D-Credit Billing (15 U.S.C. §§ 1666-

1666j); and Part E-Consumer Leases (15 U.S.C. §§ 1667-1667f). According to the Amended

Complaint, and by Plaintiff’s own admission, Plaintiff’s TILA claim falls under Part C. ECF No.

62, ¶ 46 (alleging “Defendant violated § 1663. . .”); see also Ex. 1.

       Section 1640 of Title 15 states: “[e]xcept as otherwise provided in this section, any

creditor who fails to comply with any requirement imposed under [part B] or part D or E of this

subchapter with respect to any person is liable to such person.” 15 U.S.C. § 1640(a). This

provision explicitly does not reference part C, relating to credit advertising. Moreover, Section

1663 does not itself contain any civil liability provision nor is a civil liability provision contained

elsewhere in Part C.

       The Eighth Circuit has addressed the similar question of whether a party who relied on

advertisements that allegedly violated the credit advertising provisions of the TILA is entitled to

maintain an action for civil liability under 15 U.S.C. § 1640. Jordan v. Montgomery Ward & Co.,

442 F.2d 78, 81 (8th Cir.), cert. denied, 404 U.S. 870 (1971). In analyzing the issue, the court

quoted from the legislative history:

       The bill specifically exempts credit advertising from the application of civil
       penalties. This exemption has been written into the bill by your committee to
       avoid the possibility that anyone, not a party to an actual transaction, seeing an
       advertisement not complying with the disclosure requirements of the bill would
       attempt to seek civil penalties.

Id. (quoting H.R. Rep. No. 1040, 90th Cong., 2d Sess. (1968) quoting 1968 U.S.C.C.A.N., at

1976)). Based on this history, the Eighth Circuit concluded that “it was the intent of the Congress

not to provide private civil relief for violations of the credit advertising provisions and therefore,




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held that “authority to enforce compliance with the credit advertising requirements is relegated to

administrative agencies as provided in . . . 15 U.S.C. § 1607.” Id. Since the Eighth Circuit

decided Jordan, every court addressing this issue has reached the same result.

       For example, in Smeyres v. General Motors Corp., 660 F. Supp. 31, 32-33 (N.D. Ohio

1986), aff’d 820 F.2d 782 (6th Cir. 1987), the court first reiterated Jordan’s holding that there are

no civil penalties available for violation of TILA's advertising provisions. Next, Smeyres went

even further by holding that there is not even a private cause of action implicit within any of the

credit advertising provisions of TILA. Id. at 33 n.3, 34-35. In Smeyres, the court ruled on the

defendants’ motion to dismiss claims based on advertisements made by a car manufacturer,

finance corporation, and dealer. The plaintiff in Smeyres claimed that the defendants’

advertisements for certain financing terms induced him to purchase a car, but that the actual

interest rate of the loan was considerably higher than advertised. The Smeyres court held that, as

a matter of law, no private cause of action existed under any of the credit advertising provisions

of TILA and dismissed all claims against the defendants.

       Relying on Jordon and Smeyres, Judge Nickerson of this Court reached the same

conclusion in Rush v. Ameircna Home Mortgage, Inc., when he dismissed a TILA claim based

on an alleged violation of the advertising disclosure requirements of 15 U.S.C. § 1664 and the

corresponding regulation at 12 C.F.R. § 226.24. 2009 WL 4728971, at *15 (D. Md. Dec. 3,

2009) (citing Jordon, Smeyres). The same result obtains here and requires entry of judgment in

favor of M&T on Plaintiff’s TILA claim for violation of 15 U.S.C. § 1663, as a matter of law

       Even if Plaintiff could pursue a claim for violation of TILAs’ credit advertising

provisions – and he cannot – his claim would still fail as a matter of law because neither TILA

nor its implementing regulations, Regulation Z, require any disclosure in advertising of the




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minimum monthly payment requirement. Specifically, Regulation Z identifies eleven (11)

categories of information to be disclosed “on or with a solicitation or an application to open a

credit or charge card account.” 12 CFR § 1026.60. Nowhere in 12 CFR § 1026.60 or anywhere

else in Regulation Z is it required to include any disclosure concerning the minimum required

payment amount. In fact, in its last major set of revisions to Regulation Z in 2009, the Federal

Reserve Board (which possessed rule-writing authority over TILA at the time) expressly rejected

a proposal to require a disclosure concerning the minimum payment amount. Truth in Lending,

74 FR 5244-01 at 5300. Accordingly, while the disclosure table included as part of Exhibit 1

contains all of the information required by 12 CFR § 1026.60, the fact that it does not include a

reference to Plaintiff’s obligation to make a minimum monthly payment is of no legal

consequence.

        There being no dispute of material fact, Plaintiff’s TILA claim under 15 U.S.C. § 1663

fails as matter of law, and M&T is entitled to entry of judgment in its favor on Count 2 of the

Amended Complaint.

                                    V.     CONCLUSION

       For the foregoing reasons, this Court should grant summary judgment in favor of M&T

and against Plaintiff on all claims asserted in the Amended Complaint and deny Plaintiff’s

Motion for Summary Judgment.


                                                Respectfully submitted,

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